Case 3:17-cr-00116-LRH-WGC Document 24-1 Filed 11/01/18 Page 1 of 3




                         EXHIBI丁 1

                NOTICE TO APPEAR
                    APRIL 14′         1998
                  Case 3:17-cr-00116-LRH-WGC
                                    rイ rヽ 、  Document 24-1 Filed 11/01/18 Page 2 of 3
  UoS.Deparenlent of Justice                 ″
  lm■ligration and Naturalization Service                                                                                                Notice to

  In removal proceedings under section 2N of the Immigation and Nationality Act
                                                                                                                      File No:AXXXXXXXX


 In the Matter of:

 Respondent:      PALOMAR‐ Santitto              Rettio

                                                                                                                                               805‑940‑3555
                                                         ,st∝ t,dty,State and ZIP codcl                                                        (Area code ard phone number)



 □  1.You are an arr市 ing dien.
 □  2.You arc an alien present in the United States who has not been d血 ■ed or paroled.
 因 3.You have been admitted to dle United States,but are depomble for the reasolls stated below.

 The Service alleges that you:
1.You are not a citizen or national of the United States;
2. You are a native of Mexico and a ciJヒ en of Mexico;
                     11路
矛&:棚需                         IW機 器 l『躍器 織 腑 讐搬富蹴 艦棚 酬 ド
                                                       臓ユ饉
                                                         m飢 0」 血I―
                                                                                                                           血b血 °
                                                                                                                                                                  igration

                                                                                                                               娩…D五鸞面
                                                                                                                                    釘
i                                              蹴灘撥懸瑯
                                                   ギ譜野
                                                                 "Superseding NTA"

On the basis of the foregoing,t is charged that you are suttect tO removal■                     om the United States pursll,ntto dle fouowing
pro宙 sion(s)Of laW:
Section 237(→ (2xAx面 )of the Of the Lnmigration and Nationality Act(Aco,as amended,in that,at a■ y time after admission,you have
been convicted of an aggravated felony as dettd in section 101(⇒ 3)ofthe Act.




E    This notice is being issued after an asylum officer has found that the respondent has demonstrated a credible fear of persecution.

E    Section 235(bxl) order was vacated pursuant            to: tr        8 CFR     208.30(0e)           []   8 CFR 235.3OX5Xiv)

 YOU ARE ORDERED to appear before sa immigration judge of the United States Deparhent of Justice at:
                          TO BE CALENDARED BY EOR
                                                   (ComplcE AddrE$ of Immigntion Coun, Ircluding Rom

              TO BE SET              江      TO BE SET m show why you should                                                                                       on the
                  (DaE)                           Omeb
 charge(s) set forth above.
                                                                                                       Y ASSIST,
                                                                                          …                         alld   Tidc of Isuing OffiH)


 Date:̲Jハ     ≦」
               壁                                                                                          LOS ANGELES, CALIFORNIA
              マ 4占              'ソ
                                                                                                                    (City and Statc)



                                                    See reverse           for important information
                                                                                                                                        ― ― Fom I‐ 862         v.4‑1‐ 97)
             Case 3:17-cr-00116-LRH-WGC Document 24-1 Filed 11/01/18 Page 3 of 3
                                  See reverse for important inforti.-,r.,..
Warning: Any statement you make may be used against you in removal proceedings.

                      - copy of the Notice to Appear served upon you is evidence of your alien registration while you are under
Alien Registration: This
removal proceedings. You are required to carry it with you at all times.

Representation: If you    so choose, you may be represented in this proceeding, at no
                                                                                      -expense
                                                                                               to the Govemment, by an attorney or
other individual authorized and qualified to represent persoru before the Executive Office for Immigration Review, pursuant to 8 CFR
3.16. Unless you so request, no hearing will be scheduled earlier than ten days from thr date of this notice, to allo* you sufficient
time to secure counsel. A list of qualified attorneys and organizations who may be available to represent you at no cost will be
provided wittr this Notice.

Conduct of the hearing: At the time of your hearing, you should bring with you any affidavis or other documents which you desire
to have considered in connection with your case. If any document is in a foreigr language, you must bring the original and a certified
English translation of thc document. If you wish to have the testimony of any witnesses considered, you should arrange to have such
witnesses present at the hearing.

At your hearing you will be given the oppornrnity to admit or deny any or all of the allegations in the Notice to Appear and that you
are inadmissible or deportable on the charges contained in the Notice to Appear. You will have an oppornrnity to present evidence on
your own behalf, to examine any evidence presented by the Government, to object, on proper legal grounds, to ttre receipt of evidence
and to cross examine any witnesses presented by the Government.

You yill b9 adv1s9-d by th-e- immigratio_n judgg bq{ore w_hom you apPear, of any relief from removal for which you may appear eligible
ircluding the privilege of departing voluntarily. You will be given a reasonable oppormnity to make any such applicatibn to the
immigration judge.

Failure to appear: You are rgquired to provide the INS, in writing, with your frrll mailing address and telephone number. You must
notiff the Imlnigration Court immediatcly by using Form EOIR-33 wtenever you change your address or tel-ephone number during
the course of this proceeding. You will be provided with a copy of this form. Notices of hearing will be maileA to this address. If
you do not submil Form EOIR-33 and do not otherwise provide an address at which yox may be ieached during proceedings, then the
Government shall not be required to provide you with written notice of your hearing. If you fail to attend the [earing at tfe time and
place designate4 oq mi. noti-ce, or any date and time later directed byrhe Immigration Court, a removal order may E made by the
immigration judge in your absence, and you may be arrested and detained by the INS.


                                                         Request for hompt Hearing
To expedite a determination in my case,   I   request   an immediate hearing. I waive my right to have a   10-day period prior to appearing
before an immifation judge.




                                                                                           馳

 This Notice to Appear was served on the respondent by me on                                     , in the following manner and in
 compliance with section 239(aXl)(F) of the Act:




                        El   by certified mail, retum receipt requested



E   Attached is a list of organialions and attorneys which provide free legal services.

trl The alien was provided oral notice in the                                          language of the time and place of his or her
 hearing and ofthe consequences of failure to appeax as provided in section 24O(b)(7> of the Act.
